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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:02-cr-00045-MP-AK

CRAIG CHARLES BOLLES,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 162, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Motion to Vacate under 28 U.S.C. §

2255, Doc. 138, be granted to the extent that he seeks to appeal his sentence. The Magistrate

Judge filed the Report and Recommendation on Wednesday, August 1, 2007. The parties have

been furnished a copy of the Report and have been afforded an opportunity to file objections.

Pursuant to Title 28, United States Code, Section 636(b)(1), this Court must make a de novo

review of those portions to which an objection has been made. In this instance, however, no

objections have been filed.

       Defendant pled guilty to conspiracy to distribute and to possess with intent to distribute a

quantity of Methylene-dioxy-methamphetamine, and was sentenced to 170 months

imprisonment. Defendant appealed his sentence, which was dismissed for failure to prosecute.

In his motion to vacate, Defendant alleges that counsel was ineffective by allowing his appeal to

be dismissed for failure to prosecute. The Court agrees with the Magistrate that Defendant has

made out a successful ineffective assistance of counsel claim. Counsel’s deficient performance

effectively deprived Defendant of an appeal that he otherwise would have taken. Therefore,

having considered the Report and Recommendation, and the lack of objections thereto, I have
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determined that it should be adopted. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Defendant’s Motion to Vacate, Doc. 138, is GRANTED.

        3.       The Amended Judgment, Doc. 110, is VACATED, and the same sentence is RE-
                 IMPOSED.

        4.       Defendant is advised that he has ten days from the date of the re-imposed
                 sentence in which to file a notice of appeal.

        DONE AND ORDERED this             20th day of September, 2007


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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